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IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT IN AND FOR

LEE COUNTY, FLORIDA CIVIL DIVISION
NIEVES, ELBA L, CASE NO.:
Plaintiff, JUDGE:
VS.
WAL-MART STORES INC.,

a foreign profit corporation,

Defendant.

 

COMPLAINT
COMES NOW, Plaintiff, ELBA I. NIEVES by and through her undersigned attorney and
hereby sues the Defendant, WAL-MART STORES, INC., for damages and alleges the following:
JURISDICTIONAL STATEMENT

1. This is an action for damages in excess of $15,000.00.

2. Ail conditions precedent to maintaining this action have occurred, or are in the process of
occurring.

IDENTIFICATION OF THE PARTIES

3. The Plaintiff, ELBA I, NIEVES, is a resident of Fort Myers, Lee County, Florida, is over
the age of eighteen, and is otherwise sui juris.

4. The Defendant, WAL-MART STORES, INC., is a foreign profit corporation authorized to
do, and at all relevant times was doing business in Lee County, Florida, and maintains its
agents, apparent agents, employees, servants, borrowed servants and representatives for
the transaction of its customary business within the State of F lorida.

FACTS COMMON TO ALL COUNTS

5. All pertinent events occurred in the City of Cape Coral, Lee County, Florida.

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6. All pertinent events occurred on or about May 7, 2017.

7. On or about May 7, 2017, the Defendant, WAL-MART STORES, INC., owned, operated,
managed and/or maintained or had a duty to own, operate, manage and/or maintain, both
individually and by and/or through tts agents, servants and/or employees, a certain premise
located at: 1619 Del Prado Boulevard South, Cape Coral, Lee County, Florida.

8. At the aforesaid time and place, the Plaintiff, ELBA I. NIEVES, was lawfully on said
premises.

9, Atthe aforesaid time and place, the Defendant, WAL-MART STORES, INC., individually
and/or by and through its agents, servants and/or employees maintained the aforementioned
premises including but, not limited to the food aisle(s), food department(s), entrance(s) and
exist(s) to said premises in such a manner where the areas became and/or caused a slip
hazard when liquid had accumulated when left unattended.

10, At the aforesaid time and place, as the Plaintiff, ELBA I. NIEVES, was entering the
premises with a shopping cart near the produce department located ai: 1619 Del Prado
Boulevard South, Cape Coral, Lee County, Florida, she was caused to slip and fall on the
floor in the aisle, sustaining severe and permanent injuries.

11. At the aforesaid time and place, the Defendant, WAL-MART STORES, INC., individually
and/or by and through its agents, servant and/or employees, had a duty to maintain the
aforementioned premises, including but, not limited to the food aisle(s), food
department(s), entrance(s) and exist(s), in a reasonably safe condition for persons lawfully
on said premises, to included the Plaintiff herein.

12. At the aforesaid time and place, the Defendant, WAL-MART STORES, INC., by and

through its agents, servants and/or employees, disregarding their duty, Defendant, WAL-
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MART STORES, INC. “actually caused” the Plaintiff, ELBA I. NIEVES to slip and fall
on the floor sustaining severe and permanent injuries.
COUNT I
NEGLIGENCE — WAL-MART STORES, INC.

13. Plaintiff, ELBA I. NIEVES, realleges and incorporates herein by reference, all of the
allegations set forth in paragraphs 1 through 16 as though fully set forth herein.

14. Plaintiff, ELBA I, NIEVES, is entitled to relief against Defendant, WAL-MART STORES,
INC., based upon the aforementioned facts.

15. Defendant, WAL-MART STORES, INC., had a duty to maintain the floors on the premises
located at: 1619 Del Prado Boulevard South, Cape Coral, Lee County, Florida, in a safe i
manner as a reasonable and prudent business owner. |

16. At the said time and place, Defendant, WAL-MART STORES, INC., breached its duty of
care to act as a reasonable and prudent business owner when it failed to maintain the floors
in a manner that would leave no uncovered wet spots and warming signs on areas of the
floors that business invitees, or others approaching/walking on the floors located at: 1619
Del Prado Boulevard South, Cape Coral, Lee County, Florida would not see or recognize.

17. Defendant, WAL-MART STORES, INC., negligently maintained the floors, by failing to
place “warning” signs, leaving the floors wet and uncovered, causing Plaintiff, ELBA I.
NIEVES, and anyone else approaching or walking on the wet floors, to abruptly “slip and
fall,” causing severe and permanent injuries to Plaintiff, ELBA I. NIEVES, or others.

18. At the said time and place, “but for” Defendant, WAL-MART STORES, INC.’S act of

negligently failing to maintain the floors on which Plaintiff} ELBA I, NIEVES, was i

 

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walking, Plaintiff, ELBA I. NIEVES, would not have “slipped and fallen” across and/or
on the wet, uncovered and unsigned dangerous floor.

19, Defendant, WAL-MART STORES, INC.’S negligent act and lack of floor maintenance,
“actually caused” Plaintiff, ELBA I. NIEVES’ act of abruptly falling across and/or on the
uncovered and unsigned wet and dangerous floor located at: 1619 Del Prado Boulevard
South, Cape Coral, Lee County, Florida, causing severe injuries to Plaintiff, ELBA I.
NIEVES.

20, Defendant, WAL-MART STORES, INC.’S negligent maintenance of the above-
referenced floors, in Cape Coral, Lee County, Florida, also “proximately caused” Plaintiff,
ELBA I. NIEVES to “slip and fall” across and/or on the uncovered, unsigned and
dangerous floor, in a manner that could have been avoided by reasonable alternative means
of maintenance.

21. As a result, of Defendant, WAL-MART STORES, INC.’S negligence, Plaintiff, ELBA I.
NIEVES, suffered bodily injury and resulting pain and suffering, disability, mental
anguish, loss of capacity, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability to
earn money, and aggravation of a previously existing condition. The losses are either
permanent or continuing, and Plaintiff will suffer the losses in the future. Plaintiffs
injuties are serious, and Plaintiff, ELBA I. NIEVES, suffered bodily injury which
prevented her from working during the period of time she was incapacitated and seeking

medical treatment for her injuries.

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COUNT II

NEGLIGENCE UNDER DOCTRINE OF RESPONDEAT SUPERIOR
Plaintiff, ELBA I. NIEVES, realleges and incorporates herem by reference, all of the
allegations set forth in paragraphs 1 through 21 as though fully set forth herein.
Defendant, WAL-MART STORES, INC. as the employer of its
employees/agents/representative, is vicariously liable for the negligent acts of its
employees/agents/representatives, as prescribed under the Doctrine of Respondeat
Superior.
Defendant, WAL-MART STORES, INC., had a duty to investigate its
employees/agents/representatives, as a reasonable prudent employer under the
circumstances,
At the aforesaid time and place, the Defendant, WAL-MART STORES, INC., by and
through its agents, servants and/or employees failed to properly maintain, clean, remove,
and/or place warming signs near the spilled liquid. As such, the fluid accumulated,
rendering the food aisle(s), food department(s), entrance(s) and exist(s) to be dangerous,
slippery and unsafe for use. As a result of this dangerous condition, the Plaintiff slipped
and fell.
At the aforesaid time and place, the Defendant, WAL-MART STORES, INC., as the
maintainer of the aforementioned premises, either individually or by and through its agents,
servants and/or employees, acted with less than reasonable care and is therefore, liable for
one or more of the following careless and negligent acts and/or omissions:
Failed to warn the Plaintiff, ELBA I. NIEVES, and other persons lawfully on said premises

of the dangerous condition when Defendant, WAL-MART STORES, INC., knew or should

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have known in the exercise of ordinary care that said warning was necessary to prevent
injury to the Plaintiff, ELBA I. NIEVES.

Allowed the aforementioned premises to remain in a dangerously slippery condition,
making the food aisle(s), food department(s), entrance(s) and exist(s) unfit for passage of
customers walking in the food aisles, for an unreasonable length of time.

Defendant, WAL-MART STORES, INC., as the employer of the employees/agents/
representatives, as prescribed under the Doctrine of Respondeat Superior.

Defendant, WAL-MART STORES, INC., breached its duty of care to act as a reasonable,
prudent business owner when it failed to properly and thoroughly investigate its
employees/agents/representatives, to verify its service records for maintenance, and safety
precautions.

Defendant, WAL-MART STORES, INC.’S, failure to conduct a reasonable and thorough
investigation of its employees/agents/representatives, caused a hazardous condition on the
floor, which made its employees/agents/representatives, negligently maintain and fail to
place “warning” signs on the uncovered/unsigned wet floors located at: 1619 Del Prado
Boulevard South, Cape Coral, Lee County, Florida, causing Plaintiff, ELBA I. NIEVES,
to abruptly “slip and fall” on the uncovered/unsigned wet floors, causing her severe bodily
injuries.

“But-For” Defendant, WAL-MART STORES, INC.’S negligent failure of conducting a
proper investigation of its employees/agents/representatives, their inaction of negligently
failing to maintain and place “warning” signs on the wet, uncovered/unsigned floors, would

not have “actually caused” the Plaintiff, ELBA I. NIEVES, to suffer severe, bodily injuries.

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33, Defendant, WAL-MART STORES, INC.’S negligent hiring and investigation of its
employees/agents/representatives, also “proximately caused Plaintiff, ELBA I. NIEVES,
to sustain severe bodily injuries when she abruptly “slipped and fell” on the wet,
uncovered/unsipned floors.

34, As a result, of Defendant, WAL-MART STORES, INC.’S negligence hiring and lack of
investigation of its employees/agents/representatives, they failed to act as a reasonable
prudent employee, and as a result of said negligence, maintenance and failure to place
“waming’” signs on the wet, uncovered floors where Defendant’s
employees/agent/representatives were working, Plaintiff, ELBA I. NIEVES, suffered
bodily injury and resulting pain and suffering, disability, mental anguish, loss of capacity,
loss of capacity for the enjoyment of life, expense of hospttalization, medical and nursing
care and treatment, loss of earnings, loss of ability to earn money, and aggravation of a
previously existing condition. The losses are either permanent or continuing, and Plaintiff
will suffer the losses in the future.

COUNT Til
NEGLIGENT ENTRUSTMENT- WAL-MART STORES, INC.

35, Plaintiff, ELBA I. NIEVES, realleges and mcorporates herein by reference, all of the
allegations set forth in paragraphs | through 34 as though fully set forth herein.

36. At all times material hereto, the Defendant, WAL-MART STORES, INC.’S, inaction of
acting as a reasonable and prudent owner, by failing to place “warning” signs on the floors,
created a hazardous condition which “actually and proximately” caused an accident on
May 7, 2017, wherein Defendant, WAL-MART STORES, INC., hired its apparent agents,

employees, servants, borrowed servants and/or representatives to work and clean floors in
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and near the same location that Plaintiff, ELBA I. NIEVES, was walking in a shopping
store located at: 1619 Del Prado Boulevard South, Cape Coral, Lee County, Florida, which
ultimately and severely injured Plamtiff, ELBA IL NIEVES.

Defendant, WAL-MART STORES, INC., had a duty to entrust the premises of the
shopping store only to employees in which Defendant knew, or should have known would
operate and maintain the floors in a safe manner, and as a reasonable, prudent employees
under the circumstances.

Defendant, WAL-MART STORES, INC., breached its duty of care to act as a reasonable,
prudent business owner when it entrusted the floors in which it was responsible for
cleaning, to its employees, who negligently failed to maintain or place “warning” signs on
the uncovered/unsigned floors located at: 1619 Del Prado Boulevard South, Cape Coral,
Lee County, Florida.

Defendant, WAL-MART STORES, INC.’S, poor judgment in entrusting its
employees/agents/representatives, caused Plaintiff, ELBA I. NIEVES, to loose control
over her body, by abruptly “slipping and falling” on the dangerous and wet uncovered/
unsigned floors, causing Plaintiff severe injuries.

“But-For” Defendant, WAL-MART STORES, INC., as Employer of its said employees,
entrusting the maintenance and oversight to its employees/agents/representatives, their
failure to act in maintaining and placing “warning” signs on the floors in which they were
contracted to maintain, would not have “actually and proximately” caused severe injuries
to Plaintiff, ELBA I. NIEVES.

Defendant, WAL-MART STORES, INC.’S negligent entrustment of said premises to its

employees/agents/representatives, who negligently maintained the uncovered and
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unsigned floors with “warning” signs, proximately caused Plaintiff, ELBA I. NIEVES, to
“slip and fall” abruptly onto the uncovered and unsigned floor that Defendant, WAL-
MART STORES, INC., negligently failed to cover or, to place “warning” signs on the floor

to prevent a dangerous condition on the floor where Plaintiff was working.

42. As a result, of Defendant, WAL-MART STORES, INC.’S negligence entrustment of its

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floors to its employees/agents/representatives, Plaintiff, ELBA J. NIEVES, suffered bodily
injury and resulting pain and suffering, disability, mental anguish, loss of capacity, loss of
capacity for the enjoyment of life, expense of hospitalization, medical and nursing care and
treatment, loss of earnings, loss of ability to earn money, and aggravation of a previously
existing condition. The losses are either permanent or continuing, and Plaintiff will suffer
the losses in the future.
COUNT IV

NEGLIGENT HIRING & RETENTION-WAL-MART STORES, INC.
Plaintiff, ELBA I. NIEVES, realleges and incorporates herein by reference, all of the
allegations set forth in paragraphs 1 through 42 as though fully set forth herein.
Upon information and belief, on or about May 7, 2017, Defendant, WAL-MART STORES,
INC., selected, hired, and retained employees/agents/representatives, to perform work as
commercial cleaning services.
Upon information and belief, Defendant, WAL-MART STORES, INC., entrusted its
employees/agents/representatives, with its services, when Defendant, WAL-MART
STORES, INC., knew or should have known of its employees/agents/representatives, lack
of responsibility and follow up in maintaining and placing “warning” signs on the wet

surface floors during its work and the responsibilities of its job.
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46. As a direct and proximate result of Defendant, WAL-MART STORES, INC.’S, negligent
hiring and negligent retention of its employees/agents/representatives, Plaintiff, ELBA I.
NIEVES, suffered bodily injuries, resulting in pain and suffering, mental anguish, loss of
capacity, loss of capacity for the enjoyment of life, expense of hospitalization, medical and
nursing care and treatment, loss of earnings, loss of ability to earn money, and aggravation
of a previously existing condition, The losses are either permanent or continuing, and
Plaintiff, ELBA I. NIEVES, will suffer the losses in the future.

COUNT V
NEGLIGENT SUPERVISION- DEFENDANT, WAL-MART STORES, INC.

47. Plaintiff, ELBA I, NIEVES, realleges and incorporates herein by reference, all of the
allegations set forth in paragraphs 1 through 46 as though fully set forth herein,

48. When engaging in the negligent conduct alleged herein, Defendant, WAL-MART
STORES, INC., hired employees/agents/representatives, to perform cleaning service work
in a shopping center located at: 1619 Del Prado Boulevard South, Cape Coral, Lee County,
Florida.

49, Defendant, WAL-MART STORES, INC., entrusted its employees/agents/representatives
with its assigned work of its employees/agents/representatives, with full authority and
permission to maintain, repair, alter for safety, and follow up with safety precautions to
prevent hazardous conditions on the floors located on its work premises located at; 1619
Del Prado Boulevard South, Cape Coral, Lee County, Florida.

50, Defendant, WAL-MART STORES, INC.,, had a duty to maintain the floors on the premises
located at: 1619 Del Prado Boulevard South, Cape Coral, Lee County, Florida, in a safe

manner as a reasonable and prudent business owner.
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Defendant, WAL-MART STORES, INC., breached its duty to exercise due care, as a
reasonable and prudent employer, by failing to supervise, prohibit, control or regulate its
employees/agents/representative’s negligent conduct and inactions. Defendant, WAL-
MART STORES, INC.’S conduct, constitutes negligent supervision which is actionable
under Florida law,

At the aforesaid time and place, the Defendant, WAL-MART STORES, INC., by and
through its agents, servants and/or employees, disregarding their duty, Defendant, WAL-
MART STORES, INC. “actually caused” the Plaintiff, ELBA L NIEVES to slip and fall
on the floor sustaining severe and permanent injuries. |

As a direct and proximate result of Defendant, WAL-MART STORES, INC.’S, negligence
in supervision of its employees/agents/representative’s failure to maintain and place
“warning” signs on the uncovered and unsigned floors involved in this accident, Plaintiff,
ELBA I. NIEVES, suffered bodily injuries, resulting in pain and suffering, mental anguish,
loss of capacity, loss of capacity for the enjoyment of life, expense of hospitalization,
medical and nursing care and treatment, loss of earnings, loss of ability to earn money, and
agpravation of a previously existing condition. The losses are either permanent or

continuing, and Plaintiff, ELBA I. NIEVES, will suffer the losses in the future.

WHEREFORE, the Plaintiff, ELBA I. NIEVES, demands judgment for damages against the

Defendant, WAL-MART STORES, INC., in excess of $15,000.00, exclusive of interest and costs,

court costs, trial by jury of all issues so triable, and any such other relief as this court deems just.

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY, that a true and correct copy of the foregoing document was sent
+n
to: WAL-MART STORES, INC., on this 26 day of March 2019.

Respectfully submitted,

Pieteo «® ee
Victor M. Arias, Esquire
Florida Bar No.: 0879096
Sannestine Fortin, Esquire
Florida Bar No: 103028
ARIAS LAW FIRM, P.A.
3013 Del Prado Blvd., Suite 6
Cape Coral, FL 33904
Tel. (239) 945-2121
Fax. (239) 945-7177
Attomeys for Plaintiff

 

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